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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA  )
                          )              CRIMINAL ACTION NO.
     v.                   )                3:94cr114-MHT-7
                          )                      (WO)
SCOTTIE FITZGERALD ROWELL )

                                 ORDER

    Upon     consideration        of     the    defendant       Scottie

Fitzgerald     Rowell’s       “Motion     to   Resolve      Revocation

Disposition Doc. # 1492” (doc. no 1642), it is ORDERED

that the motion is denied as moot.               On August 9, 2016,

this court entered an order (doc. no. 1640) granting

Rowell’s earlier motion for disposition of revocation

petition (doc. no. 1636), dismissing the petition for

revocation     (doc.    no.    1492)     without     prejudice,          and

terminating Rowell’s term of supervised release.

    DONE, this the 25th day of August, 2016.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
